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 6                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF WASHINGTON
 7
     JOHN SIMS,                                      )
 8
                                                     ) Case No.:
 9
                        Plaintiff,                   )
                                                     )
10             v.                                    )
                                                     ) COMPLAINT AND DEMAND
11   CAPITAL ONE BANK (U.S.A.), N.A.                 ) FOR JURY TRIAL
                                                     )
12                     Defendant.                    )

13

14                                             COMPLAINT

15             JOHN SIMS (“Plaintiff”), by and through his attorneys, KIMMEL & SILVERMAN,

16   P.C., alleges the following against CAPITAL ONE BANK (U.S.A.), N.A (“Defendant”):

17                                           INTRODUCTION
18
               1.       Plaintiff’s Complaint is based on the Telephone Consumer Protection Act
19
     (“TCPA”), 47 U.S.C. § 227 et seq.
20
                                       JURISDICTION AND VENUE
21
               2.       Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331. See Mims v.
22
     Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012).
23
               3.       Defendant conducts business in the State of Washington and as such, personal
24
     jurisdiction is established.
25
     Complaint - 1                                                      DC Law Group
                                                                        221 1st Ave W #320
                                                                        Seattle, WA 98119
                                                                        (206) 494-0400
                     Case 3:18-cv-05008-RBL Document 1 Filed 01/04/18 Page 2 of 5




               4.       Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
 1
                                                    PARTIES
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 3             5.       Plaintiff is a natural person residing in Lacey, Washington 98503.

 4             6.       Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).

 5             7.       Defendant is a corporation that has its mailing address located at 1680 Capital

 6   One Drive, Mclean, VA 22101.
 7             8.       Defendant is a “person” as that term is defined by 47 U.S.C. §153(39).
 8
               9.       Defendant acted through its agents, employees, officers, members, directors,
 9
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
10
                                          FACTUAL ALLEGATIONS
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               10.      Plaintiff has a cellular telephone number that he has had for more than two years.
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               11.      Plaintiff has only used this number as a cellular telephone number.
13
               12.      Beginning in or around summer 2014 and continuing through 2016, Defendant
14
     called Plaintiff on a repeated daily basis on his cellular telephone.
15

16             13.      When contacting Plaintiff, Defendant called Plaintiff using an automatic

17   telephone dialing system and automatic and/or pre-recorded messages.

18             14.      Plaintiff believes that Defendant was calling him using an automated telephone

19   dialing system as he was routinely greeted by a pre-recorded voice or message before speaking
20   to one of Defendant’s callers.
21
               15.      Defendant’s telephone calls were not made for “emergency purposes.”
22
               16.      In or about November or December 2014, Plaintiff spoke with Defendant and
23
     revoked any consent that may have been previously given to Defendant to call his cellular
24
     telephone number.
25
     Complaint - 2                                                            DC Law Group
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               17.      Once Defendant was informed that its calls were unwanted and to stop calling, all
 1
     further calls could only have been made solely for the purposes of harassment.
 2

 3             18.      Defendant proceeded to ignore Plaintiff’s revocation and subsequent demands to

 4   stop calling his cellular telephone and continued to call him through sometime in 2016.

 5             19.      Upon information and belief, Defendant conducts business in a manner which

 6   violates the Telephone Consumer Protection Act.
 7                                         COUNT I
                                    DEFENDANT VIOLATED THE
 8
                              TELEPHONE CONSUMER PROTECTION ACT
 9
               20.      Plaintiff incorporates the forgoing paragraphs as though the same were set forth at
10
     length herein.
11
               21.      Defendant initiated automated calls to Plaintiff using an automatic telephone
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     dialing system and automatic and/or pre-recorded messages.
13
               22.      Defendant’s calls to Plaintiff were not made for “emergency purposes.”
14
               23.      Defendant’s calls to Plaintiff, in and after November or December 2014, were not
15

16   made with Plaintiff’s prior express consent.

17             24.      Defendant’s acts as described above were done with malicious, intentional,

18   willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the

19   purpose of harassing Plaintiff.
20             25.      The acts and/or omissions of Defendant were done unfairly, unlawfully,
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     intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal defense,
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     legal justification or legal excuse.
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               26.      As a result of the above violations of the TCPA, Plaintiff has suffered the losses
 1
     and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles
 2

 3   damages.

 4                                          PRAYER FOR RELIEF

 5             WHEREFORE, Plaintiff, JOHN SIMS, respectfully prays for a judgment as follows:

 6                      a.     All actual damages suffered pursuant to 47 U.S.C. § 227(b)(3)(A);
 7                      b.     Statutory damages of $500.00 per violative telephone call pursuant to 47
 8
                               U.S.C. § 227(b)(3)(B);
 9
                        c.     Treble damages of $1,500.00 per violative telephone call pursuant to 47
10
                               U.S.C. §227(b)(3);
11
                        d.     Injunctive relief pursuant to 47 U.S.C. § 227(b)(3);
12
                        e.     Any other relief deemed appropriate by this Honorable Court.
13
                                         DEMAND FOR JURY TRIAL
14
               PLEASE TAKE NOTICE that Plaintiff, JOHN SIMS, demands a jury trial in this case.
15

16

17                                                    RESPECTFULLY SUBMITTED,

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     Complaint - 4                                                          DC Law Group
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                                                                            Seattle, WA 98119
                                                                            (206) 494-0400
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                                                  /s/ Matthew J. Cunanan
 1      DATED: January 4, 2018                    Matthew J. Cunanan, WSBA# 42530
                                                  DC LAW GROUP NW LLC
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                                                 /s/ Richard Albanese (pro hac vice
 6                                               application to follow)
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     Complaint - 5                                                  DC Law Group
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